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                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORG IDEC-9 r;' 2:24
                                DUBLIN DIVISION

JOHN E. HODGES, JR.,                  )

        Petitioner

V.                                        CASE NOS. CV310-077
                                                    CR3 05-024
UNITED STATES OF AMERICA,

        Respondent.


                                ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 9), to which objections were filed.

(Doc. 11.) After a careful de novo review of the record

in this case, the Court concludes that Petitioner's

objections are without merit. Accordingly, the report and

recommendation is ADOPTED as the Court's opinion in this

case, and Petitioner's § 2255 Petition is DENIED. The Clerk

of Court is DIRECTED to close this case.

        Pursuant to 28 U.S.C. § 2253(c), an appeal may not be

taken in certain matters unless the Court issues a

certificate of appealability. This certificate may issue

only if Plaintiff has made a substantial showing of the

denial of a constitutional right.             Slack v. McDaniel, 529

U.S. 473, 484 (2000) .           After careful consideration, the

Court finds no issues in this case that merit the issuance
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of a Certificate of Appealability.             As a result, any

request for leave to appeal in forma pauperis must be

DISMISSED AS MOOT.

     SO ORDERED this           day of December 2011.




                            WILLIAM T. MOORE, JR.
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA




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